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                                       IN THE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF ILLINOIS

            Robert Fischer, Stephanie Lukis,     )
            and Tiffany Adams,                   )
            individually and on behalf of all others
                                                 )     CIVIL ACTION NO: 19-cv-4892
            similarly situated,                  )
                                                 )
                          Plaintiffs,            )     JUDGE FEINERMAN
            v.                                   )
                                                 )     MAG. WEISMAN
            Instant Checkmate LLC,               )
                                                 )
                          Defendant.             )
               __________________________________________________________________________

                                 DECLARATION OF TIFFANY R. ADAMS
               __________________________________________________________________________

                     1.      My name is Tiffany Adams. I am over the age of 18 and a resident of the state of

            Illinois. I have personal knowledge of each of the matters stated herein, and if called to testify I

            could and would testify competently about them.

                     2.      I filed this the above-captioned class action lawsuit to end the practice of using

            people’s identities to sell Instant Checkmate’s products and services.

                     3.      I understand that, if successful, my lawsuit could prevent Instant Checkmate from

            engaging in this behavior in the future and potentially paying damages to class members like me.

                     4.      I understand that I am a potential representative of the class. My attorneys update

            me with the proceedings in this case and provide to me copies of the filings.

                     5.      I am committed to providing my time towards the prosecution of this matter, and

            have already spent considerable time helping my attorney provide discovery to the Defendant.

                     6.      I have reviewed the document attached to this Declaration as Exhibit 1 and labeled

            Pl.’s Bates No. 000509 (the “Search Results Listing”).




                                                              1
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                     7.       The Search Results Listing includes my first and last name, my middle initial, my

            age, my locations, and my relatives. I recall clicking on a substantially similar listing in mid-2019.

                     8.       I have reviewed the document attached to this Declaration as Exhibit 2 and labeled

            Pl.’s Bates No. 000510 (the “SEO Directory Listing”). I am able to identify myself among the

            listings in this document because one entry includes my first and last name, my age, my location,

            and my relatives.

                     9.       I have not given Instant Checkmate my written consent to use this information or

            my other identifying information on its website.

                     10.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

            is true and correct.

                           Executed on May 13, 2021 in Willowbrook, Illinois.


                                                                   ____________________________
                                                                   Tiffany R. Adams




                                                               2
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                       Exhibit 1
                     to the Declaration of Tiffany Adams
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                                                                                  Pl.'s Bates No. 000509
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                       Exhibit 2
                     to the Declaration of Tiffany Adams
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                                                                                  Pl.'s Bates No. 000510
